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Plaintiff

VS.
CR. NO. 05-20135-D

CONRAD R. N|CEACHERN

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursday, July 21, 2005, at 9:00 a.rn., in Courtroom 3, 9th Floor of the
Federa| Bui|ding, I\/lemphis, TN.

The period from May 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T [S SO ORDERED this if day Of |Vlay, 2005.

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UNITED sATE DISTRICT COURT - W"RTE DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20135 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

